                                                                            Motion GRANTED.
                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
      v.                                     )        No. 1:12-cr-00010
                                             )
BENJAMIN RILEY BRADLEY                       )        JUDGE TRAUGER




______________________________________________________________________________

                    MOTION TO SEAL DOCUMENT
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          Comes now the Defendant, Benjamin Riley Bradley, by and through counsel and hereby

requests the document filed as docket entry 63 be sealed.           Counsel for the Defendant

inadvertently neglected to file the document as a SEALED DOCUMENT on the PACER system

despite having previously filed a motion requesting that it not be disclosed to the public or

through the PACER system. Counsel for the Defendant regrets the error and hereby respectfully

requests that docket entry 63 be properly sealed.

                                             Respectfully submitted,


                                               /s/ James O. Martin, III
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